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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.:

 DAISY SUYAPA GONZALEZ,

                Plaintiff,
 v.

 MAG WHOLESALE CORPORATION,
 A & A WORLDWIDE ENTERPRISES,LLC,
 ALBERTO L. GONZALEZ,

             Defendants.
 __________________________________/

                                         COMPLAINT
                                     {Jury Trial Demanded}

        Plaintiff, DAISY SUYAPA GONZALEZ, brings this action against Defendants, MAG

 WHOLESALE CORPORATION, A & A WORLDWIDE ENTERPRISES,LLC, and ALBERTO

 L. GONZALEZ, pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and

 alleges as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiff DAISY SUYAPA GONZALEZ was a resident of the

 State of Florida and an “employee” of Defendants as defined by the FLSA.

 3.     At all times material hereto, Plaintiff engaged in interstate commerce on a regular and

 recurring basis within the meaning of the FLSA including but not limited to interstate telephone

 communication with customers in Venezuela and Colombia.

 4.     At all times material hereto, Defendant, MAG WHOLESALE CORPORATION, was a

 Florida corporation with its principal place of business in South Florida, engaged in commerce in

 the field of wholesale distribution of automotive chemicals and motor oils, at all times material
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 hereto was the “employer” of Plaintiff as that term is defined under statutes referenced herein,

 engaged along with its employees in interstate commerce, and has annual gross sales and/or

 business volume of $500,000 or more.

 5.      At all times material hereto, Defendant, A & A WORLDWIDE ENTERPRISES,LLC, was

 a Florida corporation with its principal place of business in South Florida, engaged in commerce

 in the field of wholesale distribution of automotive chemicals and motor oils, at all times material

 hereto was the “employer” of Plaintiff as that term is defined under statutes referenced herein,

 engaged along with its employees in interstate commerce, and has annual gross sales and/or

 business volume of $500,000 or more.

 6.      Defendants MAG WHOLESALE CORPORATION and A & A WORLDWIDE

 ENTERPRISES,LLC engage in business, generate sales, sell products, and deal with customers in

 Broward County, Florida.

 7.      Defendants, MAG WHOLESALE CORPORATION and A & A WORLDWIDE

 ENTERPRISES,LLC, are a single enterprise under the Fair Labor Standards Act, performed

 related activities through unified operation and common control for a common business purpose,

 engaged along with their employees in interstate commerce, and have an annual gross sales and/or

 business volume of $500,000 or more.

 8.      Defendants, MAG WHOLESALE CORPORATION and A & A WORLDWIDE

 ENTERPRISES,LLC, were joint employers of Plaintiff, under the Fair Labor Standards Act,

 shared Plaintiff’s services, had Plaintiff acting in the interest of each business, and shared common

 control of Plaintiff.

 9.      Defendant, ALBERTO L. GONZALEZ, is a resident of Miami-Dade County, Florida and

 was, and now is, a manager of Defendant, MAG WHOLESALE CORPORATION, controlled
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 Plaintiff’s duties, hours worked, and compensation, and managed the day-to-day operations of

 MAG WHOLESALE CORPORATION. Accordingly, ALBERTO L. GONZALEZ was and is an

 “employer” of the Plaintiff within the meaning of 29 U.S.C. §203(d).

 10.    Defendant, ALBERTO L. GONZALEZ, was and now is a manager of Defendant, A & A

 WORLDWIDE ENTERPRISES,LLC, controlled Plaintiff’s duties, hours worked, and

 compensation, and managed the day-to-day operations of A & A WORLDWIDE

 ENTERPRISES,LLC. Accordingly, ALBERTO L. GONZALEZ was and is an “employer” of the

 Plaintiff within the meaning of 29 U.S.C. §203(d).

 11.    Two or more of Defendants’ employees handled tools, supplies, and equipment

 manfuactured outside Florida in furthernace of their business including but not limited to phones,

 computers, computer monitors, computer keyboards, computer mice, pens, and paper.

 12.    Plaintiff DAISY SUYAPA GONZALEZ worked for Defendants as an office clerk and

 salesperson.

 13.    Defendants failed to pay Plaintiff’s full and proper overtime wages of 1.5 times Plaintiff’s

 regular hourly rate for hours worked over 40 each week.

 14.    Attached as Exhibit A is a preliminary calculation of Plaintiff’s claims. These amounts may

 change as Plaintiff engages in the discovery process.

 15.    Defendants have knowingly and willfully refused to pay Plaintiff’s legally-entitled wages.

 16.    Plaintiff has complied with all conditions precedent to bringing this suit, or same have been

 waived or abandoned.

 17.    Plaintiff has retained the services of the undersigned and is obligated to pay for the legal

 services provided.
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                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)
                                ALL DEFENDANTS

 18.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-17 above as if

 set forth herein in full.

 19.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiff is entitled to: (i) time-and-a-half overtime pay and (ii) liquidated damages pursuant

 to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 20.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, plus

 costs, reasonable attorneys’ fees, and such other remedy as the court deems just and appropriate.

                                               Respectfully submitted,

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